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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: ORAL PHENYLEPHRINE                                          MDL NO. ______________
LITIGATION

                                    PROOF OF SERVICE

       We hereby certify that a copy of the foregoing Motion, Memorandum, Schedule of Actions,

Exhibits, Request for Oral Argument, and this Proof of Service were served by U.S. Certified Mail

or electronic mail (as indicated below) on September 18, 2023, to the following:



 Clerks of the Courts:
 Via Certified Mail

 Clerk of Court
 U.S. District Court
 Central District Of California, Western Division - Los Angeles
 First Street U.S. Courthouse
 350 W 1st Street, Suite 4311
 Los Angeles, CA 90012-4565

 Clerk of Court
 U.S. District Court
 Eastern District of California, Sacramento Division
 Robert T. Matsui United States Federal Courthouse
 501 “I” Street, Suite 2500
 Sacramento, CA 95814

 Clerk of Court
 U.S. District Court
 Middle District of Florida, Ft. Myers Division
 United States Courthouse and Federal Building
 2110 First Street
 Fort Myers, Florida 33901

 Clerk of Court
 U.S. District Court
 Northern District of Florida (Pensacola Division)
 United States Courthouse
 One North Palafox St.
 Pensacola, FL 32502



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Clerk of Court
U.S. District Court
Northern District of Illinois (Eastern Division)
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street
Chicago, IL 60604

Clerk of Court
U.S. District Court
Eastern District of Louisiana, New Orleans Division
United States District Court
U.S. Courthouse
500 Poydras Street
New Orleans, LA 70130

Clerk of Court
U.S. District Court
District of Minnesota, Minneapolis Division
Diana E. Murphy United States Courthouse
300 South Fourth Street - Suite 202
Minneapolis, MN 55415

Clerk of Court
U.S. District Court
District of New Jersey (Newark Division)
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

Clerk of Court
U.S. District Court
District of New Jersey (Trenton Division)
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608

Clerk of Court
U.S. District Court
Eastern District of New York, Central Islip Division
United States District Court for the New York Eastern District
100 Federal Plaza
Central Islip, NY 11722



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Defendant: Albertsons Companies Inc.
Via Certified Mail

c/o C T CORPORATION SYSTEM
1555 W SHORELINE DR, STE 100
BOISE, ID 83702
E.D. California, No. 2:23-cv-01965-JAC


Defendant: Amazon.com, Inc.
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
300 DESCHUTES WAY SW STE 208 MC-CSC1,
TUMWATER, WA, 98501, UNITED STATES
E.D. California, No. 2:23-cv-01965-JAC


Defendant: Associated Wholesale Grocers, Inc.
Via Certified Mail

c/o SECRETARY OF STATE
120 SW 10TH AVENUE FIRST FLOOR MEMORIAL HALL,
TOPEKA, KS 66612
E.D. California, No. 2:23-cv-01965-JAC


Defendant: Bayer Healthcare LLC
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
PRINCETON SOUTH CORPORATE CENTER, SUITE 160, 100 CHARLES EWING
BLVD, EWING, NJ, 08628
E.D. California, No. 2:23-cv-01965-JAC


Defendant: CVS Pharmacy, Inc.
Via Certified Mail

c/o C T CORPORATION SYSTEM
820 BEAR TAVERN ROAD
WEST TRENTON, NJ, 08628
E.D. California, No. 2:23-cv-01965-JAC




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Defendant: Church & Dwight Co., Inc.
Via Certified Mail

c/o NATIONAL REGISTERED AGENTS, INC.
820 BEAR TAVERN ROAD
WEST TRENTON, NJ, 08628
E.D. California, No. 2:23-cv-01965-JAC


Defendant: GlaxoSmithKline LLC
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
PRINCETON SOUTH CORPORATE CENTER,
SUITE 160, 100 CHARLES EWING BLVD
EWING, NJ, 08628
D. New Jersey, No. 2:23-cv-20370-KM; E.D. California, No. 2:23-cv-01965-JAC


Defendant: GSK Consumer Healthcare, Inc.
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
PRINCETON SOUTH CORPORATE CENTER
SUITE 160, 100 CHARLES EWING BLVD
EWING, NJ, 08628
E.D. Louisiana, No. 2:23-cv-05273-ILRL


Defendant: Johnson & Johnson Consumer Inc.
Via Certified Mail

c/o C T CORPORATION SYSTEM
820 BEAR TAVERN ROAD
WEST TRENTON, NJ, 08628
D. New Jersey, No. 3:23-cv-20379-ZNQ; E.D. New York, No. 2:23-cv-06825-NGG; E.D. New
York, No. 2:23-cv-06870; E.D. California, No. 2:23-cv-01965-JAC; N.D. Florida, No. 3:23-
cv-24250-TKW; N.D. Illinois, No. 1:23-cv-13796; C.D. California, No. 2:23-cv-07737


Defendant: Kenvue Inc.
Via Certified Mail

c/o THE CORPORATION TRUST COMPANY
CORPORATION TRUST CENTER 1209 ORANGE ST
WILMINGTON, DE 19801



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D. New Jersey, No. 2:23-cv-20370-KM; C.D. California, No. 2:23-cv-07737; D. Minnesota,
No. 0:23-cv-02862-PJS


Defendant: McNeil Consumer Healthcare
Via Certified Mail

c/o THE CORPORATION TRUST COMPANY
CORPORATION TRUST CENTER 1209 ORANGE ST
WILMINGTON, DE 19801
D. New Jersey, No. 2:23-cv-20370-KM; D. Minnesota, No. 0:23-cv-02862-PJS; M.D. Florida,
No. 2:23-cv-00727-SPC


Defendant: Procter & Gamble Company
Via Certified Mail

c/o CT CORPORATION SYSTEM
4400 EASTON COMMONS WAY
SUITE 125
COLUMBUS OH 43219
D. New Jersey, No. 2:23-cv-20370-KM; M.D. Florida, No. 2:23-cv-00727-SPC; E.D. New
York, No. 2:23-cv-06870; E.D. California, No. 2:23-cv-01965-AC; E.D. Louisiana, No. 2:23-
cv-05273-ILRL; E.D. Louisiana, No. 2:23-cv-05274-JTM; N.D. Florida, No. 3:23-cv-24250-
TKW; C.D. California, No. 2:23-cv-07737; E.D. Louisiana, No. 2:23-cv-05353-EEF


Defendant: Reckitt Benckiser LLC
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
PRINCETON SOUTH CORPORATE CENTER, SUITE 160,
100 CHARLES EWING BLVD , EWING, NJ, 08628
D. New Jersey, No. 2:23-cv-20370-KM; E.D. California, No. 2:23-cv-01965-AC; C.D.
California, No. 2:23-cv-07737;


Defendant: Rite Aid Corporation
Via Certified Mail

c/o THE CORPORATION TRUST COMPANY
CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON, DE 19801
E.D. California, No. 2:23-cv-01965-AC




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Defendant: Sanofi-Aventis U.S. LLC
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
251 LITTLE FALLS DRIVE
WILMINGTON, DE 19808
E.D. California, No. 2:23-cv-01965-AC


Defendant: Target Corporation
Via Certified Mail

c/o C T Corporation System
1010 Dale St N
St Paul, MN 55117–5603
E.D. California, No. 2:23-cv-01965-AC; E.D. Louisiana, No. 2:23-cv-05353-EEF


Defendant: Walgreens, Inc.
Via Certified Mail

c/o ILLINOIS CORPORATION SERVICE COMPANY
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703-4261
D. New Jersey, No. 2:23-cv-20370-KM


Defendant: Walgreen Co.
Via Certified Mail

c/o CORPORATION SERVICE COMPANY
PRINCETON SOUTH CORPORATE CENTER,
SUITE 160, 100 CHARLES EWING BLVD
EWING, NJ, 08628
E.D. California, No. 2:23-cv-01965-AC


Defendant: Walmart Inc.
Via Certified Mail

c/o C T CORPORATION SYSTEM
820 BEAR TAVERN ROAD
WEST TRENTON, NJ, 08628
E.D. California, No. 2:23-cv-01965-AC




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Defendant: Valu Merchandisers Co.
Via Certified Mail

c/o C T CORPORATION SYSTEM
112 SW 7TH STREET SUITE 3C,
TOPEKA, KS 66603
E.D. Louisiana, 2:23-cv-05274-JTM


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Dated: September 18, 2023                    Respectfully submitted,

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